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IN THE UNITED sTATEs DISTRICT CoURT F"-ED @Y “ .... D.C.
FoR THE wEsTERN DIsTRrCT oF TENNESSEE 05 JUN 2 l
WESTERN DIVISION 2 P" 3' 3b

 

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CL¢~;H&<, U.S. DZST. CT.

w.o. oz= TN,
RONALD M. WYRICK, ML»l'lF’HiS
Plaintiff,

vS. No. 05-2366 B P

THEODORE HALL, PAUL MACKLIN
d/b/a PAUL MACKLIN TRUCKING and
PAUL MACKLIN HAULING,

Defendants.

 

RULE l()(b) CONSEN'I` SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held July 7, 2005. Present
Were Charles M. Agee, counsel for Plaintiff, and Teresa A. Boyd, counsel for

Defendants. At the conference, the following dates were established as the final dates

for:

INITIAL .DISCLOSURES I-"L~’RSIL!’\I‘~I'1h

TO Fed.R.Civ.P.26(a)(l): 14 days after the 26(f)
conference. If not made before
the Rule 16(b) conference, then
14 days after the Rule l6(b)

conference
JOINING PARTIES: September 7, 2005
AMENDING PLEADINGS: September 7, 2005
INITIAL MOTIONS TO DISMISS: September 10, 2005

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with Hu!e 53 and!or 79(3} FRCP on ‘ ’©<§

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COMP_LETING ALL DISCOVERY: March l, 2006
(a) DOCUMENT PRODUCTION: January 16, 2006

(b) DEPOSITIONS, INTERROGATORIES
AND REQUESTS FOR ADMISSIONS: January 16, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE

26 EXPERT INFORMATION: January 2, 2006
(2) DISCLOSURE (`)`i*` DEF E`NDANT’S RULE
26 EXPERT INFORMATION: February 1, 2006
(3) EXPERT WITNESS DEPOSITIONS: March l,2006
FILING DISPOSITIVE MOTIONS: April 3, 2006
OTHER RELEVANT MATTERSV:

No depositions may be scheduled to occur after the discovery cutoff date. All
motions, requests for admissions, or other filings that require a response must be filed
sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond
by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or the service of the response answer, or obj ection, which
is the subject of the motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for good cause shown, or
the objection to the default, response, an_s\.ver, or objection shall be waived

This case is set for jury trial. The pretrial order date. pretrial conference_date, and l _f_
trial date will be set by the presiding judge. _`L‘"l‘" l$ q'\`i{€`\ fdile ‘f“he `f`"‘?i W¢' ll q$
¢-/-5` oiq;$.

This case is appropriate for ADR. The parties are directed to engage in court -
annexed attorney mediation or private mediation after the cl se of discovery.
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The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions,
except motions pursuant to Fed.R.Civ.P. 12, 56, 59. and 60 shall be accompanied by a
proposed order.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. lf a party

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believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for Which a reply is required

The parties have not consented to trial before the magistrate judge.
This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or

extended

IT IS SO ORDERED.

  

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DATE '

APPROVED:

THE RICH_ARDSON LAW FIRM

BY: \//?0~ M

iohn o. Richardson (B.P.R. #`6`124)
Attorneys for Defendants

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R.i‘\l. 7074

M/

Charles M. Agee, Jr.
Attorney for Plaintiff

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02366 was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

 

.lohn D. Richardson

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Teresa Ann Boyd

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Honorable .l. Breen
US DISTRICT COURT

